Case 1:18-cv-05622-PKC Document 29 Filed 09/17/18 Page1of2
Case 1:18-cv-05622-PKC Document 28 Filed 09/12/18 Page 1 of 2

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September 12, 2018
Via ECE:

Honorable P. Kevin Castel, U.S.D.J.

United States District Court for the Southern District of New York
Daniel Patrick Moynihan

United States Courthouse

500 Pearl St.

New York, NY 10007-1312

Re: —_1:18-cv-05622-PKC Humane Consumer LLC v, COB Ecommerce Empire LLC
et al.
Dear Judge Castel:

We represent Plaintiffs in this matter and have appeared for COB Commerce Empire
LLC and Charles Crawford (“COB Defendants”). In the joint letter to the Court dated August
30, 2018, in anticipation of the September 6 initial conference, we advised that “Counsel for
COB Defendants has agreed to accept service of process by mail, while reserving all rights, and
Counsel for Plaintiff has agreed to extend the deadline for COB Defendants to respond to
the Complaint to October 1, 2018. It is respectfully requested that the Court grant and/or
so-order this extension of time for COB Defendants to respond to the complaint No such
requests have been previously made.” (emphasis added)

Since the initial conference was adjourned to November 2, we were unable to address the
extension at the conference. Your Honor’s individual practices indicate such a reauest| is made

by letter, so we would ask that this extension of time to respond to the complaint be “s cette” a

ordered.” Tire GD Artest A Cpe
Conference Adjourned

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SO ORDERED;

220244896 P- KEVIN CASTEL, U,S.D.d.

Date: 7 —? S o

Case 1:18-cv-05622-PKC Document 29 Filed 09/17/18 Page 2 of 2

Case 1:18-cv-05622-PKC Document 28 Filed 09/12/18 Page 2 of 2

Honorable P. Kevin Castel, U.S.D.J.
September 12, 2018
Page 2

1 also note that I will be in Portugal on business on November first, and either flying back
November 2 or November 3, so would request that the initial conference be either November 5
ot November & or 9.

Respectfully submitted,

s/Steven M_ Richman/
Cc: Paul Siegert, Esq. (via ECF)

Boris Brownstein, Esq. (via ECF)

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